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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
                                          CIVIL MINUTES - GENERAL


Case No.          CV 17-0546-TJH(MRWx)                                               Date    AUGUST 7, 2018


Title    JEANELLE JONES v. RAYMER METALS, INC.,


Present: The Honorable          TERRY J. HATTER, JR., UNITED STATES DISTRICT JUDGE


                  YOLANDA SKIPPER                                                NOT REPORTED
                      Deputy Clerk                                                 Court Reporter


                Attorneys Present for Plaintiffs:                       Attorneys Present for Defendants:
                          None Present                                            None Present


Proceedings:          (IN CHAMBERS)          ORDER AND NOTICE TO ALL PARTIES

        In light of the notice of settlement, filed August 2, 2018, indicating that the case has settled in its
        entirety, this Court retains full jurisdiction over this action and this Order shall not prejudice any party
        to this action.

        By September 28, 2018 the parties shall file either a proper stipulation and order for dismissal or
        judgment. Failure to timely file a stipulation and order for dismissal or judgment shall result in the
        dismissal of this action.

        All pending hearings and motions are now taken off calendar and vacated.

        IT IS SO ORDERED.

        cc: all parties




        CV-90                                       CIVIL MINUTES - GENERAL             Initials of Deputy Clerk YS
